                      Case 1:01-cr-05196-LJO Document 206 Filed 09/16/05 Page 1 of 3
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
            ARTHUR DAVID DESOTO
                      (Defendant’s Name)                                  Criminal Number: 1:01CR05196-003


                                                                          Dale Blickenstaff, 5151 N. Palm, St. 10,
                                                                          Fresno, CA 93704
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge(s) One and Two as alleged in the violation petition filed on July 12, 2005 .
[]  was foun d in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defend ant is guilty of the following violation(s):

Violation Numb er                    Nature of Violation                                     Date Violation Occurred
One                                  Failure to Subm it W ritten Sup ervision Report         Feb. Through June, 2005
Two                                  Failure to Report Change of Address                     03/01/2005



The court: [ ] revokes: [U] modifies: [ ] continues under same conditions of supervision heretofore ordered on August 11, 2003 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       Charg e(s)       is/are dismissed.


        IT IS FURTHER ORD ERED that the defendant shall notify the United States Attorney for this district within 30
days of an y change of na m e, res idence, or m ailing ad dres s until all fines , restitution , cos ts, and sp ecial assess m ents
imposed by this judgment are fully paid.

                                                                                         September 13, 2005
                                                                                    Date of Imposition of Sentence


                                                                                         /s/Oliver W . W anger
                                                                                      Signature of Judicial Officer


                                                                         OLIVER W. WANGER , United States District Judge
                                                                                 Nam e & Title of Judicial Officer


                                                                                                 9/15/05
                                                                                                  Da te
                     Case 1:01-cr-05196-LJO Document 206 Filed 09/16/05 Page 2 of 3
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:                1:01CR05196-003                                                                            Judgment - Page 2 of 3
DEFENDANT:                  ARTHUR DAVID DESOTO


                                                 SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of 60 months
         (from August 11, 2003).

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the court.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[]       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
                    Case 1:01-cr-05196-LJO Document 206 Filed 09/16/05 Page 3 of 3
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:               1:01CR05196-003                                                       Judgment - Page 3 of 3
DEFENDANT:                 ARTHUR DAVID DESOTO


                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall reside and participate in the Comprehensive Sanctions Center, Turning
              Point, Fresno, for a period of 30 days pursuant to 18 USC 3563(b) (11), said placement shall
              commence as directed by the probation officer. The defendant shall pay cost of confinement
              as determined by the Bureau of Prisons.

         2.   All previously ordered conditions of supervised release remain in full force and effect.
